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UNITED STATES I)ISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

MONROE DIVISION
ERIE MOORE, JR., et al. "‘ NO.: 3:16~CV~OI(}07-RGJ-KLH (LEAD)
Plaintiffs "‘
VERSUS *~ JUDGE ROBERT G. JAMES
LASALLE CORRECTIONS, INC.,
et al. * MAG. JUDGE KAREN L. HAYES
Defendants *

Consolidated for Discovery Purposes 0111y With:

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

MONROE DIVISION
LARA J. WHITE * NO: 3: l6-cv- 1405-RGH-KLH (LEAI))
Plaintiffs * N(): 3: 16-cv-1405-RGJ-KLH(MEMBER)
VERSUS * JUDGE R()BERT G. JAMES

LASALLE CORRECTIONS, INC.,
et al. °" MAG. JUDGE KAREN L. HAYES

LeKAYE HAMILTON'S COMPLAINT lN INTERVENTION
\

lritervenoiz LeKAYE HAl\/HLTON_1 Who is a resident cf Ouachita Parish, Leuisiana
(hereinafter referred to as "lntervenor Hamilton"), respectfully represents:
PARTIES
l.
lntervenor LeKAYE HAMIL 'l`ON ("lntervenc)r Hamilton"): is the mother Of the l\/linor
Childr \/.H., Who is a resident and domiciliary ofOuachita Parish, Louisiana. Petitic)ner is a

citizen Of the State ofLouiSiana. She is the Plaintiff in a elaim filed 011 behalf of V.H. in the 4th

 

 

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Judicial District Couit, Parisli ofOuachita, State of Louisiana, No.: 16-3104, said State Court
case to be stayed due to the filing of this interventionl
2.

Made Defendant herein is LASALLE CORRECTIONS, LLC. ("LaSalle")J a limited
liability company, whose registered agent listed With the Seci‘etary of State of Louisiana is
Williarn K. McConnell, 192 Bastille Lane, Suite 200, Ruston, L-ouisiana 71270.

3_

Made Defendant herein is RICHWOOD CORRECTIONAL CENTER, LLC ("RCC"), a
Lirnited Liability Cornpany_, vvhose registered agent listed vvith the Secretary of State of
Louisiana is Williani K. l\/lcConnell, 192 Bastille Lane, Suite 2()0, Ruston, Louisiana 71270.

4.

l`\/lade Defendant is LASALLE l\/IANAGEMENT COMPANY, LLC, a limited liability
company, vvhose registered agent listed vvith the Secretary of State of Louisiana is Williarn K.
McConnell, 192 Bastille Lane, Suite 20(), Ruston, Louisiana 71270.

5.

l\/lade Defendant herein is RAY HANSON, Warden ol`RCC, who at all pertinent times
served as the chief policymaker for RCC and vv'as responsible for the daily operations of RCC.
He is sued in his individual and in his official capacities He acted at all pertinent times under
the color of state law.

6.

Made Defendant herein is LT. GERALD HARDWELL, vvho at all pertinent times vvas a

correctional officer at RCC for LaSalle and vvho vvas acting as LaSalle's agent, servant and

employee under the color of state lavv. He is sued in his individual and in his official capacities

 

 

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7.

l\/[ade Defendant herein is CAPT. RODERICK DOUGLAS, vvho at all pertinent times
vvas a correctional officer at RCC for LaSalle and who was acting as LaSalle's agent, servant and
employee under the color of state lavv. l-le is sued in his individual and in his official capacities

8,

Made Defendant herein is Correction Officer (hereinafter "C/O") DANIELLE
\l\/Di‘iLKER7 vvho at all pertinent times vvas a correctional officer at RCC for LaSalle and vvho vvas
acting as LaSalle's agent, servant and employee under the color of state lavv. She is sued in her
individual and in her official capacities

9.

l\/Iade Defendant herein is the CITY OF MONROE. The City of l\/lonroe is a political
subdivision of the State of Louisiana. lt is sued in its official capacity The City of l\/lonroe
contracted vvith LaSalle to provide correctional services to the City. The City of Monroe failed
to adequately to monitor the performance of LaSalle under the contract and failed to discharge its
non~delegable duties to inmates housed at RCC, including the duty to train and to adopt policies
and procedures so as to prevent inmate-on-inmate violence; the duty properly to monitor
ininates; and the duty properly to classify and house inmates

l().
ORlGlNAL- LAWSUIT AND Ll'l`lGA’l`lON

Plaintiff, liara White_, individually and on behalf of her minor child, V.H. W., Jr., sued
Defendants, LaSalle Correction, lnc., Richvvood Correctional Center, LLC, Warden Ray Hanson,
LT. Gerald Hardvvell, CAPT. Roderick Douglas, C/O Danielle W alker and the City of Monroe,

in solido, for monetary damages individually and for survival damages on behalf of Lara .l.

 

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White's husband and V.R.W, Jr.'s father, Vernon R. White, Sr., Deceased and for declaratory
relief and costs of court pursuant to 42 U.S.C. §§1983 and 1988 to redress the deprivation by
Defendants, their agents, their employees and others acting in concert with them under the color
of state law of the Plaintiffs rights, privileges and immunities secured by the Eighth and
Fourteenth Amendments of the Constitution of the United States, and to redress damages arising
under the negligence and intentional tort laws of the State of Louisiana. Defendant LaSalle
Corrections, LLC. and the defendants other than the City of l\/lonroe filed a l\/lotion to Dismiss
for l\lon-Joinder pursuant to Rule 19 (Doc. it 10). T he Court filed a Repoi_t and Recommendation_
on lanuary 3, 2017 ordering Plaintiff l,iara J. White to join the party represented in this
intervention within 90 days (Doc. #17`). Defendant City of Monroe filed an answer asserting
general denials and affirmative defenses (Doc. #19). By this Court's Order of l\/larch 20, 2017,
Lara J. White's claims were consolidated with Erie l\/loore, Ir., et al. versus LaSalle Corrections,
lnc., et al., l\lo.: 3:16-CV-01007-RGJ-KLH for discovery purposes with that case being
designated as the Lead Case in this matter (Doc. #22).
JURISDICTION AND VENUE
11.

Jurisdiction is invoked pursuant to 28 U.S.c. §§l331 and 1343(a)(1), (2), (3) and (4).

lntervenor Hamilton alleges pendent jurisdiction and supplemental jurisdiction over state law

claims
12_
Venue is proper in the United States District Court for the Western District of Louisiana
pursuant to 28 U.S.C. §1391(b)(2), as a substantial part of the events or omissions giving rise to

the claim occurred within this judicial districtl

 

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STATEMENT OF FACTS
13.

lntervenor l-lamilton is entitled to bring this claim because she is the mother and natural
tutrix of the Minor Child, V.l-l.

14.

On or around October 13_, 2015, Vernon Ramone White, Sr., died from injuries suffered
at RCC as a result of the fault and deliberate indifference ofDefendants.

15.

On October 10,2015, Mr. White was arrested by Officer Chris Bozeman of the l\/lonroe
Police Department on charges of speeding, driving without a license, driving without proof of
insurance and contempt of court.

16.
Also on October 10, 2015J Officer Bozeman transported Mr. White to RCC.
17.

On October 12,2015, at approximately 6:15 am, Erie l\/loore, Sr., was arrested by Officer
Crowson of the Monroe Police Department on a charge of disturbing the peace through the use
of profane language

18.

Also on October 12, 2015, at approximately 7:45 am, l\/lr. Moore was transported to

RCC.
19.
At RCC Mr. l\/loore was placed into Locl< Down Cell 7 ("LDT'). LD7 has been

described by Sgt. Holyfield of the Ouachita Parish Sheriffs Ofl'ice as "an isolation cell for

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problematic inmates". According to Sgt. Holyfield's report, l\/lr. Moore was placed in LD7
because of erratic behavior, including acts of violence LD7 is continuously monitored by video
camera.

20_

On October 12, 2015, at approximately 9:00 pm, Mr. White engaged in a fight with a
third inmate, Erin Daniels. As a result, l\/lr. White was placed in LD7 with Mr. l\/loore.

21.

On the morning of October 13, 2015, Lt. llardwell and Capt. Douglas learned of an
altercation between l\/lr. l\/loore and l\/lr. White in LD7. Mr. Moore and l\/lr_ White were not
separated

22.

On October 13,2015, from 5:00 pm, i\/loore can be seen in the video record gesticulating
wildly, pointing and pacing. At 5:04 pm he fashions an iinprovised mask from a Styrofoam
container and holds the mask to his face. At 5 :06 pm he holds the mask to his face again

23.

At 5:13 pm, l\/lr. White bangs on the door of L-D?. There is no apparent response At
5: 14 pm, Mr. Moore embraces l\/lr. White. l\/lr. White attempts to escape, but Mr. l\/loore pulls
him back in. At 51 15 pm, Mr. l\/loore peers out of a small window in the door of LD7. At 5: 16-
5: 17 pm, Mr. White is at the door.

24.
At 5118 pm, l\/Ir. Moore places l\/lr. W hite against the wall, puts his hands around l\/lr.

White’s neck and then draws back his right arm and makes a fist.

 

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25.

At 5: 19 pm, l\/lr. White breaks away from l\/lr. l\/loore and then drops to the floor and
crawls out ofcamera range l\/lr. l\/loore yells or screams at l\/lr. White. Mr. W hite gets up and is
again visible to the camera

26.

At 5 120 pm, Mr. l\/loore faces l\/lr. White, who is then close to the opposite wall and
draws back his fist. l\/lr. l\/loore repeatedly shoves l\/lr. White, then grabs him by the neck, pushes
him against the opposite wall, draws back his fist and points violently with an index finger very
close to l\/lr. White’s face. Mr. l\/loore moves l\/lr. White along the wall and then releases l\/lr.
White.

27.
At 5:21 pm, l\/lr. l\/loore yells or screams at l\/lr. White.
28.

At 5:22 pm, Mr. l\/loore pushes l\/lr. White to the floor. After this, l\/lr. White is never
seen in the video until his seemingly lifeless body is dragged from the cell at 6:08 pm. From
5:22:10 pm through 5:22:24 pm, Mr. l\/loore repeatedly kicks or stomps l\/lr. White.

29.

At 5.'39 pm, food trays are passed into LD7 through a slot in the lower part of the door.

t\/Ir. l\/loore takes both trays. Over time, he eats all or part of both meals
30.

From 5:48 to 6:03 pm, l\/lr. l\/loore lies on a blanket on the floor.
31.

At 6:07 pm, l\/lr. l\/loore removes his pants and begins to defecate on the blanket

 

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32.

At 6:08 pm, fifty minutes after l\/lr. Moore first threatened l\/lr. White with his fist and
forty-six minutes after l\/lr. l\/loore pushed l\/lr. White to the floor and began to kick and stomp
him, corrections officers enter LD?, knock l\/lr. l\/loore to the floor and drag the seemingly
lifeless l\/lr. White from the cell.

33.

Paramedics were called and l\/lr. White was taken to University Health - Conway where
he was pronounced dead.

34.

LD7 was cleaned before the arrival of investigators from the Ouachita Parish Sheriffs
Office.

FIRST CAUSE OF ACTION: FAILURE TO ALERT TO THE NEED T() INTERVENE,
FAILURE TO INTERVENE AND FAILURE TO SUPERVISE

35.

C/O Walker was charged with monitoring the video from LD7 throughout the entire time
that Mr. White was forced to share an isolation cell with Mr. l\/loore, an erratic and problematic
inmate who had been acting violently.

36.

C/O Walker failed to alert other corrections officers of the need to intervene to protect the
life of Vernon Ramone White, Sr., despite forcing him to share an isolation cell with the
dangerous l\/lr. Moore, subjecting him to fifty minutes of threats, physical attacks and injury by
l\/lr. Moore.

37.

LaSalle and Warden Hanson failed to supervise C/O Walker so as to prevent the failure

 

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to alert officers of the need to intervene to save the life of l\/lr. White, as he was being threatened
and attacked in plain sight on camera
SECOND CAUSE OF ACTION: FAILURE TO MONITOR, CLASSIFY, TRAIN AND
IMPLEMENT POLICIES
38.
l\/lr. White was housed in cell LD7, an isolation cell with video monitoring
39.

LaSalle, RCC and Warden Hanson are liable herein for failure to train correctional
officers in the proper monitoring procedure and to establish adequate policies LaSalle, RCC and
l~lanson failed to set forth an adequate policy regarding monitoring for prisoners at RCC in
isolation cells The policy and training were inadequate since they did not provide for constant
observation or other methods of adequate observation and provided only sporadic observation of
inmates The City of Monroe had a non-delegable duty to supervise, train, have adequate
policies, classify and monitor liaSalle, RCC and the individual Defendants so that inmates are
provided a safe environment and are not injured or killed by other inmates

40.

The failure to implement adequate policy and training resulted in Defendant, C/O
Walker’s, failing to follow good practices, failing to properly monitor the cell and failing to
protect the civil rights of prisoners including l\/lr. White and was a cause of the violation of l\/lr.
White's rights as described supra.

41.
!O Walker was in the control room and was fully responsible for monitoring the video

feeds from the cells C/O Walker failed to report repeated threats and attacks by l\/lr. Moore

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against l\/lr. White. She failed to report the fatal beating of l\/lr. White at the violent hands ofl\/lr.
l\/loore.
42.

lnmate Moore accepted his own meal and also l\/lr. White's meal. lnmate l\/loore ate both
meals There was no sign of communication between l\/lr. l\/loore and l\/lr. White regarding the
meals and no sign of the presence of l\/lr. White. 'l` hese facts were not reported by C/O Walker.
40. lnmate White was not seen on the video for more than 45 minutes Despite her duty to
monitor the video feeds continuously for inmate safety, this was not reported by C/O Walker.

THIRD CAUSE OF ACTION: FAILURE TO TRAIN AND FAILURE TO IMPLEMENT
ADEQUATE POLICIES
43.

Defendants violated l\/lr. White’s rights under the Eighth and Fourteenth Amendments to
be free of violent attacks by another inmate l\/lr. White was merely a pretrial detainee who was
arrested on minor charges

44.

The failure to implement adequate policy and training was a cause of the failure to

intervene and therein a cause of the violation of l\/lr. White's rights as described supra.
FOURTH CAUSE OF ACTION: FAILURE T() CLASSIFY AND PROTECT INMATES
45.

Defendants violated l\/lr. White's rights under the Eighth and Fourteenth Amendments to
be free of violent attacks by another inmate because they had actual or constructive knowledge
that Mr. Moore was a violent inmate Mr. l\/loore was placed in LD7 for that reason Thereafter,

l\/lr. White was placed in LD7 with l\/lr. Moore. Other, empty, isolation cells were available,

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making it entirely feasible to protect Mr. White from Mr. Moore.
46.

To house l\/lr. White with l\/li‘. l\/loore, a known violent inmate, was a failure to
appropriately classify Mr. Moore as an isolation~cell inmate or to appropriately act on the
classification

47.

Similarly, Mr. White had engaged in an altercation with another prisoner before he was
housed with Mr. l\/loore. To house l\/fr. White, after this altercation, with another prisoner was a
failure appropriately to classify l\/lr. White or to appropriately act on the classification

48.

Further, l\/lr. l\/loore was transported to University Health~ Conway on October 13,2015.
At University l~lealth, lie tested positive for PCP. To house an inmate on PCP with another
inmate was a failure to appropriately classify or to appropriately act on the classification

49.

On the morning of October 13, 2015, Lt. Hardwell and Capt. Douglas learned of an
altercation between l\/lr. l\/loore and l\/lr. White in LD7. Defendants should have separated Mr.
Moore and l\/lr. White to prevent further physical conflict between them.

50.

On the evening of October 13, 2015, when l\/lr. White and l\/lr. Moore were together in
LD'F, violent altercations could be observed between them. Defendants should have separated
Mr. White and l\/lr. l\/loore to prevent further physical conflict between them.

51.

The repeated failures to separate l\/lr. White and l\»fr. l\/loore were failures to protect l\/lr.

11

 

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White.
FIFTH CAUSE OF ACTI()N: STATE LAW CLAIMS
52.

lntervenor Hamilton alleges violations of Louisiana Civil Code art. 2315. Officers
named supra and other officers acting in the course and scope of their employment with LaSalle
violated Vernon Ramone White, Sr.’s rights under Article l, §5 of the Louisiana Constitution of
1974.

5 3.

LaSalle and RCC are liable for the fault of their officers iii failing to classify, act on the
classification separate, monitor, alert to the need for intervention intervene and protect. LaSalle
and RCC are also liable for their failure to train and supervise their officers

54.

lntervenor Hamilton alleges violations of Louisiana Civil Code art. 2315 for negligence
and intentional acts. Officers named supra and others acting in the course and scope of their
employment with LaSalle negligently or intentionally allowed or caused the conditions leading
to the death of \/ernon Ramone White, Sr. rl`hose acts and omissions should be evaluated under
Louisiana Civil Code arts 2323 and 2324.

5 5.

Neither LaSalle nor RCC nor their officers are entitled to qualified immunity under

federal law because LaSalle and RCC are private entities
56.
Further, Defendants named supra conspired and acted in unison in an effort to deprive

l\/lr. White of his civil rights

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57.

The City of l\/lonroe failed properly to supervise the performance of its contract with
LaSalle. The City of l\/lonroe has a duty to review LaSalle's performance and a duty to review
training The City of l\/lonroe has a non-delegable duty to provide a safe custodial environment
for inmates

MISCELLANEOUS PROVISIONS
58.

Defendants other than the City of l\/lonroe are not entitled to qualified immunity under

federal law because they are private individuals
5 9.

Because of the malicious and deliberately indifferent actions of Defendants LaSalle and
RCC and all individual Defendants toward l\/lr. White's federally protected rights, lntervenor
Hamilton is entitled to an award of punitive damages against each Defendant.

60.

lntervenor Hamilton brings this survival action on behalf of her of her l\/linor Child, V.
H., Vernon Ramone White, Sr._, who suffered mental distress, loss of liberty, invasion of privacy,
pain and suffering, loss of earning capacity, loss of enjoyment of lifeJ embarrassment and
humiliation as a result of the actions of the Defendants Additionally, lntervenor Hamilton
brings this wrongful death action on behalf of her minor child, suffering loss of love, affection
and society as a result of her minor child's father's death

61.

lntervenor Hamilton is entitled to an award of attorneys' fees and costs under 42 42

13

 

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u.s.c. §§1933 and iass.

WHEREFORE, lntervenor, LeKAYE HAl_\/ill;'f()l\l prays that:

There be judgment herein and against Defendants LASALLE CORRECTIONS, LLC.,
LASALLE MANAGEMENT COMPANY, LLC, RlCHWOOD CORRECTIONAL
CENTER, LLC, WARDEN RAY flAl\lSOl\l, LT. GERALD HARDWELL, CAPT.
RODERICK DOUGLAS, C/O DANIELLE WALKER and the CITY OF MONROE, in
solido, in a reasonable amount to be set by the Court, plus judicial interest: compensatory
damages consequential damages punitive damages and all costs of court, including
attorneys' fees

Such other and further relief as may be just.

Respectfully submitted,

/s/ W. l\/lark McKee

W. Mark l\/chee (LA. State Bar No.: 22518)
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